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  8
                               UNITED STATES DISTRICT COURT
  9
10                           CENTRAL DISTRICT OF CALIFORNIA

11    KAILA MARTIN,                                   Case No. 5:20-cv-00888-DMG-KK
12
                            Plaintiff,                Hon. Dolly M. Gee
13
      v.                                              STIPULATED PROTECTIVE
14                                                    ORDER
      TRANS UNION LLC,
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16                          Defendants.

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18    1.          INTRODUCTION
19                1.1   PURPOSES AND LIMITATIONS
20                Discovery in this action is likely to involve production of confidential,
21    proprietary, or private information for which special protection from public disclosure
22    and from use for any purpose other than prosecuting this litigation may be warranted.
23    Accordingly, the parties hereby stipulate to and petition the Court to enter the following
24    Stipulated Protective Order. The parties acknowledge that this Order does not confer
25    blanket protections on all disclosures or responses to discovery and that the protection
26    it affords from public disclosure and use extends only to the limited information or items
27    that are entitled to confidential treatment under the applicable legal principles. The
28    parties further acknowledge, as set forth in Section 12.3, below, that this Stipulated
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  1   Protective Order does not entitle them to file confidential information under seal; Civil
  2   Local Rule 79-5 sets forth the procedures that must be followed and the standards that
  3   will be applied when a party seeks permission from the court to file material under seal.
  4               1.2   GOOD CAUSE STATEMENT
  5               Plaintiff Kaila Martin has filed this lawsuit (the “Litigation”) against Defendant
  6   Trans Union LLC, alleging that Defendant is liable to Plaintiff for damages resulting
  7   from alleged violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. In
  8   connection with the Litigation, Plaintiff has sought discovery or testimony regarding
  9   certain of Defendant’s confidential and proprietary trade secrets and other business
10    information and Defendant has sought discovery or testimony regarding the personal
11    identifying information of Plaintiff (herein after collectively referred to as the
12    “Confidential Information”).
13                The documents to be produced by Defendant contain critical information
14    regarding their computer systems involved in credit reporting and account management.
15    Defendant’s credit-reporting and furnishing businesses rely on the use of their computer
16    hardware and software. Defendant has worked hard and incurred great cost to update
17    their computer hardware and software to create the best possible credit-reporting
18    systems.
19                In order to operate national credit reporting services, Defendant Trans Union
20    LLC, along with Equifax Information Services, LLC and Experian Information
21    Solutions, Inc. (collectively “CRAs”), had to design unique computer systems to
22    process information received from tens of thousands of diverse lenders and other
23    entities involved in the credit industry, from the public record and from other sources.
24    Likewise, creditors use proprietary computer systems to manage accounts, including
25    furnishing of information. Extremely sophisticated and unique computer software
26    designs were necessary to allow the CRAs to process that information in the form of
27    credit reports as accurately as possible when a consumer applies for credit. The CRAs
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  1   have spent hundreds of millions of dollars and countless hours of employee time
  2   developing their unique and sophisticated computer systems.
  3               The sophistication of the CRAs’ separate computer systems are a major
  4   advantage for each in the marketplace. Were information about their highly
  5   sophisticated computer systems to get into the hands of competitors (including each
  6   other), it would enable the competitors to enhance their own systems and, in so doing,
  7   remove the marketing edge currently enjoyed by each of them. Similarly, were
  8   information about the design and workings of those systems, including internal policies
  9   and procedures, to get into the hands of a would-be competitor, it would greatly
10    facilitate that would-be competitor's efforts to develop its own sophisticated computer
11    system. Each of these would have a serious financial impact on Defendant.
12                Were this same type of information to get into criminal hands, it would facilitate
13    the efforts of those who seek to improperly access Defendant’s files on consumers and
14    perpetrate identity fraud. It would also facilitate the efforts of those who seek to make
15    changes to information in consumers’ files. In addition to impairing the privacy of
16    consumers, such actions could lead to a loss of confidence in Defendant. This loss of
17    confidence, critical in the credit reporting business, could put Defendant out of business.
18                Finally, Plaintiff and Defendant will be disclosing Plaintiff’s sensitive personal
19    information, and confidential information of other individuals may also be disclosed. It
20    is extremely important that this information remain protected and not be readily
21    available due to the dangers of identity theft.
22    2.          DEFINITIONS
23                2.1   Action: Kaila Martin v. Trans Union LLC; 5:20-cv-00888-DMG-KK
24                2.2   Challenging Party: a Party or Non-Party that challenges the designation
25    of information or items under this Order.
26                2.3   “CONFIDENTIAL” Information or Items: information (regardless of how
27    it is generated, stored or maintained) or tangible things that qualify for protection under
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  1   Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
  2   Statement.
  3               2.4   Counsel: Outside Counsel of Record and House Counsel (as well as their
  4   support staff).
  5               2.5   Designating Party: a Party or Non-Party that designates information or
  6   items that it produces in disclosures or in responses to discovery as
  7   “CONFIDENTIAL.”
  8               2.6   Disclosure or Discovery Material: all items or information, regardless of
  9   the medium or manner in which it is generated, stored, or maintained (including, among
10    other things, testimony, transcripts, and tangible things), that are produced or generated
11    in disclosures or responses to discovery in this matter.
12                2.7   Expert: a person with specialized knowledge or experience in a matter
13    pertinent to the litigation who has been retained by a Party or its counsel to serve as an
14    expert witness or as a consultant in this Action.
15                2.8   House Counsel: attorneys who are employees of a party to this Action.
16    House Counsel does not include Outside Counsel of Record or any other outside
17    counsel.
18                2.9   Non-Party: any natural person, partnership, corporation, association, or
19    other legal entity not named as a Party to this action.
20                2.10 Outside Counsel of Record: attorneys who are not employees of a party to
21    this Action but are retained to represent or advise a party to this Action and have
22    appeared in this Action on behalf of that party or are affiliated with a law firm which
23    has appeared on behalf of that party, and includes support staff.
24                2.11 Party: any party to this Action, including all of its officers, directors,
25    employees, consultants, retained experts, and Outside Counsel of Record (and their
26    support staffs).
27                2.12 Producing Party:     a Party or Non-Party that produces Disclosure or
28    Discovery Material in this Action.

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  1               2.13 Professional Vendors: persons or entities that provide litigation support
  2   services (e.g., photocopying, videotaping, translating, preparing exhibits or
  3   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
  4   their employees and subcontractors.
  5               2.14 Protected Material:      any Disclosure or Discovery Material that is
  6   designated as “CONFIDENTIAL.”
  7               2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
  8   from a Producing Party.
  9   3.          SCOPE
10                The protections conferred by this Stipulation and Order cover not only Protected
11    Material (as defined above), but also (1) any information copied or extracted from
12    Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
13    Material; and (3) any testimony, conversations, or presentations by Parties or their
14    Counsel that might reveal Protected Material.
15                Any use of Protected Material at trial will be governed by the orders of the trial
16    judge. This Order does not govern the use of Protected Material at trial.
17    4.          DURATION
18                Even after final disposition of this litigation, the confidentiality obligations
19    imposed by this Order will remain in effect until a Designating Party agrees otherwise
20    in writing or a court order otherwise directs. Final disposition will be deemed to be the
21    later of (1) dismissal of all claims and defenses in this Action, with or without prejudice;
22    and (2) final judgment herein after the completion and exhaustion of all appeals,
23    rehearings, remands, trials, or reviews of this Action, including the time limits for filing
24    any motions or applications for extension of time pursuant to applicable law.
25    5.          DESIGNATING PROTECTED MATERIAL
26                5.1   Exercise of Restraint and Care in Designating Material for Protection.
27    Each Party or Non-Party that designates information or items for protection under this
28    Order must take care to limit any such designation to specific material that qualifies

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  1   under the appropriate standards. The Designating Party must designate for protection
  2   only those parts of material, documents, items, or oral or written communications that
  3   qualify so that other portions of the material, documents, items, or communications for
  4   which protection is not warranted are not swept unjustifiably within the ambit of this
  5   Order.
  6               Mass, indiscriminate, or routinized designations are prohibited. Designations
  7   that are shown to be clearly unjustified or that have been made for an improper purpose
  8   (e.g., to unnecessarily encumber the case development process or to impose
  9   unnecessary expenses and burdens on other parties) may expose the Designating Party
10    to sanctions.
11                If it comes to a Designating Party’s attention that information or items that it
12    designated for protection do not qualify for protection, that Designating Party must
13    promptly notify all other Parties that it is withdrawing the inapplicable designation.
14                5.2   Manner and Timing of Designations. Except as otherwise provided in this
15    Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated
16    or ordered, Disclosure or Discovery Material that qualifies for protection under this
17    Order must be clearly so designated before the material is disclosed or produced.
18                Designation in conformity with this Order requires:
19                (a) for information in documentary form (e.g., paper or electronic documents,
20    but excluding transcripts of depositions or other pretrial or trial proceedings), that the
21    Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
22    “CONFIDENTIAL legend”), to each page that contains protected material. If only a
23    portion or portions of the material on a page qualifies for protection, the Producing Party
24    also must clearly identify the protected portion(s) (e.g., by making appropriate markings
25    in the margins).
26                      A Party or Non-Party that makes original documents available for
27    inspection need not designate them for protection until after the inspecting Party has
28    indicated which documents it would like copied and produced. During the inspection

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  1   and before the designation, all of the material made available for inspection will be
  2   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents
  3   it wants copied and produced, the Producing Party must determine which documents,
  4   or portions thereof, qualify for protection under this Order. Then, before producing the
  5   specified documents, the Producing Party must affix the “CONFIDENTIAL legend” to
  6   each page that contains Protected Material. If only a portion or portions of the material
  7   on a page qualifies for protection, the Producing Party also must clearly identify the
  8   protected portion(s) (e.g., by making appropriate markings in the margins).
  9               (b) for testimony given in depositions that the Designating Party identify the
10    Disclosure or Discovery Material on the record, before the close of the deposition all
11    protected testimony.
12                (c) for information produced in some form other than documentary and for any
13    other tangible items, that the Producing Party affix in a prominent place on the exterior
14    of the container or containers in which the information is stored the legend
15    “CONFIDENTIAL.” If only a portion or portions of the information warrants
16    protection, the Producing Party, to the extent practicable, will identify the protected
17    portion(s).
18                5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
19    failure to designate qualified information or items does not, standing alone, waive the
20    Designating Party’s right to secure protection under this Order for such material. Upon
21    timely correction of a designation, the Receiving Party must make reasonable efforts to
22    assure that the material is treated in accordance with the provisions of this Order.
23    6.          CHALLENGING CONFIDENTIALITY DESIGNATIONS
24                6.1   Timing of Challenges. Any Party or Non-Party may challenge a
25    designation of confidentiality at any time that is consistent with the Court’s Scheduling
26    Order.
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  1               6.2      Meet and Confer.     The Challenging Party will initiate the dispute
  2   resolution process (and, if necessary, file a discovery motion) under Local Rule 37.1, et
  3   seq.
  4               6.3      The burden of persuasion in any such challenge proceeding will be on the
  5   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,
  6   to harass or impose unnecessary expenses and burdens on other parties) may expose the
  7   Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
  8   the confidentiality designation, all parties will continue to afford the material in question
  9   the level of protection to which it is entitled under the Producing Party’s designation
10    until the Court rules on the challenge.
11    7.          ACCESS TO AND USE OF PROTECTED MATERIAL
12                7.1      Basic Principles. A Receiving Party may use Protected Material that is
13    disclosed or produced by another Party or by a Non-Party in connection with this Action
14    only for prosecuting, defending, or attempting to settle this Action. Such Protected
15    Material may be disclosed only to the categories of persons and under the conditions
16    described in this Order. When the Action has been terminated, a Receiving Party must
17    comply with the provisions of section 13 below (FINAL DISPOSITION).
18                Protected Material must be stored and maintained by a Receiving Party at a
19    location and in a secure manner that ensures that access is limited to the persons
20    authorized under this Order.
21                7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
22    ordered by the court or permitted in writing by the Designating Party, a Receiving Party
23    may disclose any information or item designated “CONFIDENTIAL” only to:
24                      (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
25    as employees of said Outside Counsel of Record to whom it is reasonably necessary to
26    disclose the information for this Action;
27                      (b) the officers, directors, and employees (including House Counsel) of the
28    Receiving Party to whom disclosure is reasonably necessary for this Action;

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  1                  (c) Experts (as defined in this Order) of the Receiving Party to whom
  2   disclosure is reasonably necessary for this Action and who have signed the
  3   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  4                  (d) the Court and its personnel;
  5                  (e) court reporters and their staff;
  6                  (f) professional jury or trial consultants, mock jurors, and Professional
  7   Vendors to whom disclosure is reasonably necessary for this Action and who have
  8   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  9                  (g) the author or recipient of a document containing the information or a
10    custodian or other person who otherwise possessed or knew the information;
11                   (h) during their depositions, witnesses ,and attorneys for witnesses, in the
12    Action to whom disclosure is reasonably necessary provided: (1) the deposing party
13    requests that the witness sign the form attached as Exhibit A hereto; and (2) they will
14    not be permitted to keep any confidential information unless they sign the
15    “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed
16    by the Designating Party or ordered by the court. Pages of transcribed deposition
17    testimony or exhibits to depositions that reveal Protected Material may be separately
18    bound by the court reporter and may not be disclosed to anyone except as permitted
19    under this Stipulated Protective Order; and
20                   (i)   any mediator or settlement officer, and their supporting personnel,
21    mutually agreed upon by any of the parties engaged in settlement discussions.
22    8.          PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
23    OTHER LITIGATION
24                If a Party is served with a subpoena or a court order issued in other litigation that
25    compels disclosure of any information or items designated in this Action as
26    “CONFIDENTIAL,” that Party must:
27                   (a) promptly notify in writing the Designating Party. Such notification will
28    include a copy of the subpoena or court order;

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  1                   (b) promptly notify in writing the party who caused the subpoena or order to
  2    issue in the other litigation that some or all of the material covered by the subpoena or
  3    order is subject to this Protective Order. Such notification will include a copy of this
  4    Stipulated Protective Order; and
  5                   (c) cooperate with respect to all reasonable procedures sought to be pursued
  6    by the Designating Party whose Protected Material may be affected.
  7                If the Designating Party timely seeks a protective order, the Party served with the
  8    subpoena or court order will not produce any information designated in this action as
  9    “CONFIDENTIAL” before a determination by the court from which the subpoena or
 10    order issued, unless the Party has obtained the Designating Party’s permission. The
 11    Designating Party will bear the burden and expense of seeking protection in that court
 12    of its confidential material and nothing in these provisions should be construed as
 13    authorizing or encouraging a Receiving Party in this Action to disobey a lawful directive
 14    from another court.
 15    9.          A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
 16    IN THIS LITIGATION
 17                   (a) The terms of this Order are applicable to information produced by a Non-
 18    Party in this Action and designated as “CONFIDENTIAL.” Such information produced
 19    by Non-Parties in connection with this litigation is protected by the remedies and relief
 20    provided by this Order. Nothing in these provisions should be construed as prohibiting
 21    a Non-Party from seeking additional protections.
 22                   (b) In the event that a Party is required, by a valid discovery request, to
 23    produce a Non-Party’s confidential information in its possession, and the Party is
 24    subject to an agreement with the Non-Party not to produce the Non-Party’s confidential
 25    information, then the Party will:
 26                      (1) promptly notify in writing the Requesting Party and the Non-Party that
 27    some or all of the information requested is subject to a confidentiality agreement with
 28    a Non-Party;

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  1                      (2) promptly provide the Non-Party with a copy of the Stipulated
  2    Protective Order in this Action, the relevant discovery request(s), and a reasonably
  3    specific description of the information requested; and
  4                      (3) make the information requested available for inspection by the Non-
  5    Party, if requested.
  6                   (c) If the Non-Party fails to seek a protective order from this court within 14
  7    days of receiving the notice and accompanying information, the Receiving Party may
  8    produce the Non-Party’s confidential information responsive to the discovery request.
  9    If the Non-Party timely seeks a protective order, the Receiving Party will not produce
 10    any information in its possession or control that is subject to the confidentiality
 11    agreement with the Non-Party before a determination by the court. Absent a court order
 12    to the contrary, the Non-Party will bear the burden and expense of seeking protection
 13    in this court of its Protected Material.
 14    10.         UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 15                If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 16    Protected Material to any person or in any circumstance not authorized under this
 17    Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
 18    the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
 19    all unauthorized copies of the Protected Material, (c) inform the person or persons to
 20    whom unauthorized disclosures were made of all the terms of this Order, and (d) request
 21    such person or persons to execute the “Acknowledgment and Agreement to Be Bound”
 22    that is attached hereto as Exhibit A.
 23    11.         INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 24                PROTECTED MATERIAL
 25                When a Producing Party gives notice to Receiving Parties that certain
 26    inadvertently produced material is subject to a claim of privilege or other protection,
 27    the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 28    Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure

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  1    may be established in an e-discovery order that provides for production without prior
  2    privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
  3    parties reach an agreement on the effect of disclosure of a communication or
  4    information covered by the attorney-client privilege or work product protection, the
  5    parties may incorporate their agreement in the stipulated protective order submitted to
  6    the court.
  7    12.         MISCELLANEOUS
  8                12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  9    person to seek its modification by the Court in the future.
 10                12.2 Right to Assert Other Objections. By stipulating to the entry of this
 11    Protective Order no Party waives any right it otherwise would have to object to
 12    disclosing or producing any information or item on any ground not addressed in this
 13    Stipulated Protective Order. Similarly, no Party waives any right to object on any
 14    ground to use in evidence of any of the material covered by this Protective Order.
 15                12.3 Filing Protected Material. A Party that seeks to file under seal any
 16    Protected Material must comply with Civil Local Rule 79-5. Protected Material may
 17    only be filed under seal pursuant to a court order authorizing the sealing of the specific
 18    Protected Material at issue. If a Party's request to file Protected Material under seal is
 19    denied by the court, then the Receiving Party may file the information in the public
 20    record unless otherwise instructed by the court.
 21    13.         FINAL DISPOSITION
 22                After the final disposition of this Action, as defined in paragraph 4, within 60
 23    days of a written request by the Designating Party, each Receiving Party must return all
 24    Protected Material to the Producing Party or destroy such material. As used in this
 25    subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 26    summaries, and any other format reproducing or capturing any of the Protected
 27    Material. Whether the Protected Material is returned or destroyed, the Receiving Party
 28    must submit a written certification to the Producing Party (and, if not the same person

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  1    or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
  2    category, where appropriate) all the Protected Material that was returned or destroyed
  3    and (2) affirms that the Receiving Party has not retained any copies, abstracts,
  4    compilations, summaries or any other format reproducing or capturing any of the
  5    Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
  6    archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
  7    legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
  8    work product, and consultant and expert work product, even if such materials contain
  9    Protected Material. Any such archival copies that contain or constitute Protected
 10    Material remain subject to this Protective Order as set forth in Section 4 (DURATION).
 11                Any willful violation of this Order may be punished by civil or criminal contempt
 12    proceedings, financial or evidentiary sanctions, reference to disciplinary authorities, or
 13    other appropriate action at the discretion of the Court.
 14
 15   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 16
 17   DATED: January 4, 2021                      QUILLING, SELANDER, LOWNDS,
                                                  WINSLETT & MOSER, P.C.
 18
 19                                                By: /s/ Kristin L. Marker
                                                       Kristin L. Marker
 20
                                                       Counsel for TRANS UNION LLC
 21
 22   DATED: January 4, 2021                      THE CARDOZA LAW CORPORATION
 23
                                                   By: /s/ Lauren B. Veggian
 24                                                   Michael F. Cardoza
                                                      Lauren B. Veggian
 25
                                                      Counsel for PLAINTIFF
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  1    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  2
  3
         January 5, 2021
  4                                         __________________________________
  5                                         HON. KENLY KIYA KATO
                                            United States Magistrate Judge
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  1                                              EXHIBIT A
  2                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3
  4                I, _____________________________ [full name], of _________________
  5    [full address], declare under penalty of perjury that I have read in its entirety and
  6    understand the Stipulated Protective Order that was issued by the United States District
  7    Court for the Central District of California on [date] in the case of Kaila Martin v.
  8    Transunion LLC; 5:20-cv-00888-DMG-KK. I agree to comply with and to be bound
  9    by all the terms of this Stipulated Protective Order and I understand and acknowledge
 10    that failure to so comply could expose me to sanctions and punishment in the nature of
 11    contempt. I solemnly promise that I will not disclose in any manner any information
 12    or item that is subject to this Stipulated Protective Order to any person or entity except
 13    in strict compliance with the provisions of this Order.
 14                I further agree to submit to the jurisdiction of the United States District Court
 15    for the Central District of California for the purpose of enforcing the terms of this
 16    Stipulated Protective Order, even if such enforcement proceedings occur after
 17    termination of this action. I hereby appoint __________________________ [full
 18    name] of _____________________________________ [full address and telephone
 19    number] as my California agent for service of process in connection with this action
 20    or any proceedings related to enforcement of this Stipulated Protective Order.
 21
       Date: ____________________________________
 22
 23    City and State where signed: _____________________________________________
 24
       Printed name: _______________________________
 25
 26    Signature: __________________________________
 27
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